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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

Romspen Mortgage Limited Partnership,

                                   Plaintiff,
                                                                No. 19-cv-05610
                          v.
                                                                Judge Matthew F. Kennelly

SB Winnetka, LLC, et al.,                                       NON-RESIDENTIAL

                                   Defendants.

                  ORDER APPROVING REPORT OF SALE AND DISTRIBUTION,
                       CONFIRMING SALE AND ORDER OF EVICTION

        This matter comes to be heard on Plaintiff Romspen Mortgage Limited Partnership’s

(the “Plaintiff”), motion for entry of an order approving the Report of Sale and Distribution,

confirming the sale of the premise, which is the subject of the matter captioned above and

described at Exhibit A hereto (the “Property”).

        Due notice of said motion having been given, the Court having examined said report

and being fully advised in the premises, FINDS:

        A.       That the periods of redemption and reinstatement expired, or were waived,

without either redemption or reinstatement;

        B.       That this Court obtained personal jurisdiction over each defendant who is

personally liable to Plaintiff for the deficiency from the sale.

        C.       That all notices required by 735 ILCS 5/15-1507(c) were given;

        D.       That said sale was fairly and properly conducted;




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        E.       That Judicial Sales Corporation, hereinafter “Selling Officer,” has in every

respect proceeded in accordance with the terms of this Court’s Judgment of Foreclosure

and Order for Judicial Sale;

        F.       That Plaintiff, or the assignee of its Certificate of Sale, is entitled to a deed of

conveyance and possession of Property.

        G.       That justice was done.

        IT IS THEREFORE ORDERED:

        1.       That the sale of the Property and the Report of Sale and Distribution filed by

the Selling Officer are hereby approved, ratified, and confirmed;

        2.       That the proceeds of the sale be distributed in accordance with the Report of

Sale and Distribution;

        3.       That Plaintiff’s fees and costs arising between entry of the Judgment of

Foreclosure [Dkt. 234] and entry of this Order are approved;

        4.       That the proceeds of the sale are insufficient to satisfy the Judgment of

Foreclosure.

        5.       That the Property is free and clear of all liens and encumbrances, except

general real estate taxes and special assessments, if any.

        6.       That upon confirmation under this order and upon request by the successful

bidder, or the assignee of the Certificate of Sale, the Selling Officer must execute and

deliver—to the successful bidder (or its assignee)—a deed sufficient to convey fee title to

the Property and identifying the successful bidder (or its assignee) as grantee.




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        7.       That the deed to be issued to the successful bidder is a transaction that is

exempt from all transfer taxes—state and local—and the Cook County Recorder of Deeds is

ordered to permit immediate resolution of that deed without any exemption stamps.

        8.       That the successful bidder, or its assignee, is entitled to, and will have

possession of, the Property as of a date 30 days after this Court renders this order, without

further judicial action or court order, as provided in Section 15-1701 of the Illinois

Mortgage Foreclosure Law (735 ILCS 5/15-1701).

        9.       If possession is withheld in defiance of paragraph 8, the Sheriff of Cook

County and the United States Marshal of the Northern District of Illinois are each directed

to evict and dispossess SB Winnetka, LLC and SB One Winnetka, LLC, and any of their

respective agents, officers, employees, directors, members, assigns and successors from the

Property without further judicial action or court order.

        10.      The municipality or county may contact the party below with concerns about

the real property:

                 Lynne Moore
                 Mortgage Administration
                 Romspen Investment Corporation
                 162 Cumberland Street, Suite 300
                 Toronto, ON M5R 3N5
                 416-928-5117

        11.      That there shall be a deficiency judgment entered in the amount of

$8,436,140.66, personally against defendants SB Winnetka, LLC and SB One Winnetka, LLC,

in favor of Plaintiff.


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        12.      That Ryan McNaughton is formally discharged as court appointed receiver of

the Property and the bond is hereby released.


Dated: Sept. 29, 2021
                                                        ____________________________________________________
                                                        HONORABLE JUDGE MATTHEW F. KENNELLY




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                                                   EXHIBIT A

PARCEL 1:
THE EAST 106 FEET OF THE WEST 109 FEET OF THE NORTH 251 FEET OF BLOCK 24 OF
WINNETKA, BEING A SUBDIVISION OF THE NORTH EAST QUARTER OF SECTION 20 AND
THE NORTH HALF OF FRACTIONAL SECTION 21, TOWNSHIP 42 NORTH, RANGE 13, EAST
OF THE THIRD PRINCIPAL MERIDIAN, (EXCEPT THEREFROM THE NORTH 40 FEET
TAKEN FOR ELM STREET) ALSO (EXCEPT THAT PART THEREOF DESCRIBED AS
FOLLOWS:

COMMENCING AT A POINT ON WEST LINE OF SAID EAST 106 FEET AT A DISTANCE OF 85
FEET SOUTH OF SOUTH LINE OF ELM STREET THENCE EAST PARALLEL WITH SOUTH
LINE OF ELM STREET 10 FEET THENCE SOUTH PARALLEL WITH THE WEST LINE OF SAID
EAST 106 FEET A DISTANCE OF 45.84 FEET TO THE NORTH WALL OF A ONE STORY
BRICK BUILDING; THENCE WEST ALONG NORTH WALL OF SAID BRICK BUILDING 10
FEET TO WEST LINE OF SAID EAST 106 FEET; THENCE NORTH ALONG THE WEST LINE
OF SAID EAST 106 FEET A DISTANCE OF 46 FEET TO PLACE OF BEGINNING) ALSO
(EXCEPT THAT PART THEREOF DESCRIBED AS FOLLOWS:
BEGINNING AT SOUTH WEST CORNER OF THE ABOVE DESCRIBED PROPERTY AND
RUNNING THENCE NORTH ALONG WEST LINE THEREOF 46.35 FEET TO
INTERSECTION WITH A CURVED LINE OF 1163 FOOT RADIUS CONVEX
NORTHEASTERLY; THENCE SOUTHEASTERLY ALONG SAID CURVED LINE OF 1163
FOOT RADIUS, 25.88 FEET, AS MEASURED ALONG THE CHORD TO A POINT OF
REVERSE CURVE; THENCE SOUTHERLY ALONG A CURVED LINE OF 1087 FEET RADIUS
CONVEX SOUTHWESTERLY 25.69 FEET MEASURED ALONG THE CHORD TO A POINT IN
SOUTH LINE OF AFORESAID EAST 106 FEET OF WEST 109 FEET OF THE NORTH 251 FEET
OF BLOCK 24 WINNETKA, 22.26 FEET EAST OF THE SOUTHWEST CORNER THEREOF AND
THENCE WEST ALONG SAID SOUTH LINE 22.26 FEET TO PLACE OF BEGINNING) ALSO,
THE EAST 54 FEET OF THE WEST 163 FEET OF THE NORTH 211 FEET OF THAT PART OF
BLOCK 24 OF CHARLES E. PECK'S SUBDIVISION LYING SOUTH OF THE SOUTH LINE OF
ELM STREET IN WINNETKA IN FRACTIONAL SECTION 21, TOWNSHIP 42 NORTH, RANGE
13, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

PARCEL 2:
EASEMENT FOR THE BENEFIT OF PARCEL 1 CREATED BY GRANT FROM KATHARINE
ROACH JACKSON AND HER HUSBAND TO AYRES BOAL, JR., AS TRUSTEE UNDER LAST
WILL AND TESTAMENT OF LESLEY J . BOAL, DECEASED, DATED DECEMBER 4, 1950 AND
RECORDED DECEMBER 4, 1950 AS DOCUMENT 14965696 AND FILED IN REGISTRAR
OFFICE OF COOK COUNTY, ILLINOIS ON DECEMBER 4, 1950 AS DOCUMENT LR1329741
FOR LIGHT AND AIR AND FOR INGRESS AND EGRESS FOR PEDESTRIAN USE ONLY
(INCLUDING RIGHT TO OPEN WINDOWS IN ANY PRESENT OR FUTURE WALLS ON
GRANTEE'S PROPERTY ADJOINING) OVER THAT PORTION OF LOT 1 AND AN EASEMENT
FOR UNDERGROUND PUBLIC UTILITIES UNDER SAID PORTION OF LOT 1 DESCRIBED AS
FOLLOWS: THAT PORTION OF LOT 1 IN PROUTY’S HOMESTEAD SUBDIVISION OF PARTS
OF BLOCKS 24 AND 25 OF WINNETKA, A SUBDIVISION OF THE NORTHEAST QUARTER OF



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SECTION 20 AND THE NORTH HALF OF FRACTIONAL SECTION 21, TOWNSHIP 42 NORTH,
RANGE 13, EAST OF THE THIRD PRINCIPAL MERIDIAN DESCRIBED AS FOLLOWS:
COMMENCING AT A POINT ON EAST LINE OF LOT 1, 131 FEET SOUTH OF SOUTH LINE OF
ELM STREET, THENCE SOUTH ALONG EAST LINE OF SAID LOT 1, 33.65 FEET TO
NORTHEASTERLY LINE OF LINCOLN AVENUE; THENCE NORTHWESTERLY ALONG
NORTHEASTERLY LINE OF LINCOLN AVENUE A DISTANCE OF 37.83 FEET TO A POINT
DUE WEST OF THE PLACE OF BEGINNING; THENCE EAST PARALLEL WITH SOUTH LINE
OF ELM STREET A DISTANCE OF 17.29 FEET TO PLACE OF BEGINNING), IN COOK
COUNTY, ILLINOIS

PARCEL 3:
THAT PART OF LOT 1 IN PROUTY HOMESTEAD SUBDIVISION OF ALL OF BLOCKS 24 AND
25, LYING NORTHEASTERLY OF THE RIGHT OF WAY OF THE CHICAGO AND MILWAUKEE
ELECTRIC RAILROAD, EXCEPT THE NORTH 211.00 FEET OF SAID BLOCK 24, ALSO THE
WEST 3.00 FEET OF THE NORTH 211.00 FEET OF SAID BLOCK 24, ALL IN WINNETKA, A
SUBDIVISION BY CHARLES E. PECK OF THE NORTHEAST 1/4 OF SECTION 20, AND THE
FRACTIONAL NORTH 1/2 OF FRACTIONAL SECTION 21, TOWNSHIP 42 NORTH, RANGE
13, EAST OF THE THIRD PRINCIPAL MERIDIAN, DESCRIBED AS FOLLOWS:

BEGINNING IN THE NORTH LINE OF SAID LOT, 197.85 FEET EAST OF THE NORTHWEST
CORNER THEREOF; THENCE EAST ALONG SAID NORTH LINE 10.00 FEET TO THE
NORTHEAST CORNER OF SAID LOT; THENCE SOUTH ALONG THE EAST LINE OF SAID
LOT TO A POINT 46.35 FEET NORTH OF THE SOUTH LINE OF THE NORTH 211.00 FEET
OF BLOCK 24 AFORESAID; THENCE NORTHWESTERLY ALONG A CURVED LINE CONVEX
TO THE NORTHEAST, WITH A RADIUS OF 1163.00 FEET, 105.94 FEET TO THE
INTERSECTION OF SAID CURVED LINE, WITH A LINE DRAWN 72.00 FEET SOUTH OF
AND PARALLEL WITH THE NORTH LINE OF SAID LOT AT A POINT 51.15 FEET WEST
OF THE EAST LINE OF SAID LOT; THENCE EAST ALONG SAID PARALLEL LINE, 41.15
FEET; THENCE NORTH PARALLEL WITH SAID EAST LINE TO THE PLACE OF
BEGINNING, IN THE VILLAGE OF WINNETKA, IN COOK COUNTY, ILLINOIS.

PARCEL 4:
THAT PART OF THE EAST 106.00 FEET OF THE WEST 109.00 FEET OF THE NORTH 251.00
FEET (EXCEPT THE NORTH 40.00 FEET TAKEN FOR ELM STREET) OF BLOCK 24 IN
WINNETKA, BEING A SUBDIVISION OF THE NORTHEAST 1/4 OF SECTION 20 AND THE
NORTH 1/2 OF FRACTIONAL SECTION 21, TOWNSHIP 42 NORTH, RANGE 13, EAST OF
THE THIRD PRINCIPAL MERIDIAN, DESCRIBED AS FOLLOWS:

COMMENCING AT A POINT ON THE WEST LINE OF SAID EAST 106.00 FEET AT A
DISTANCE OF 85.00 FEET SOUTH OF THE SOUTH LINE OF ELM STREET; THENCE EAST
PARALLEL WITH THE SOUTH LINE OF ELM STREET, 10.00 FEET; THENCE SOUTH
PARALLEL WITH THE WEST LINE OF SAID EAST 106.00 FEET, A DISTANCE OF 45.84 FEET
TO A POINT; THENCE WEST 10.00 FEET TO THE WEST LINE OF SAID EAST 106.00 FEET;
THENCE NORTH ALONG THE WEST LINE OF SAID EAST 106.00 FEET, A DISTANCE OF
46.00 FEET TO THE PLACE OF BEGINNING, ALL IN COOK COUNTY, ILLINOIS.



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PARCEL 5:
EASEMENT FOR THE BENEFIT OF THE ABOVE PARCEL AS CREATED BY DEED FROM
AYRES BOAL JR., TRUSTEE UNDER THE LAST WILL AND TESTAMENT OF LESLEY J.
BOAL, DECEASED, TO KATHERINE ROACH JACKSON DATED DECEMBER 4,1950 AND
RECORDED DECEMBER 4, 1950 AS DOCUMENT 14965695 FOR INGRESS AND EGRESS,
LIGHT AND AIR OVER A STRIP OF LAND 4.00 FEET WIDE, AND FOR UNDERGROUND
PUBLIC UTILITIES UNDER SAID 4.00 FEET STRIP, WHICH 4.00 FEET STRIP IS MORE
PARTICULARLY DESCRIBED AS FOLLOWS:

COMMENCING AT A POINT ON THE WEST LINE OF SAID EAST 106.00 FEET AT A
DISTANCE OF 81.00 FEET SOUTH OF AND PARALLEL TO THE SOUTH LINE OF ELM
STREET; THENCE EAST PARALLEL WITH THE SOUTH LINE OF ELM STREET, A DISTANCE
OF 14.00 FEET; THENCE SOUTH PARALLEL WITH THE WEST LINE OF SAID EAST 106.00
FEET, A DISTANCE OF 49.81 FEET TO A POINT; THENCE WEST, A DISTANCE OF 4.00 FEET;
THENCE NORTH PARALLEL WITH THE WEST LINE OF SAID EAST 106.00 FEET, A
DISTANCE OF 45.84 FEET; THENCE WEST PARALLEL WITH THE SOUTH LINE OF ELM
STREET, 10.00 FEET TO THE WEST LINE OF SAID EAST 106.00 FEET; THENCE NORTH
ALONG THE WEST LINE OF SAID EAST 106.00 FEET, A DISTANCE OF 4.00 FEET TO THE
POINT OF BEGINNING, ALL IN COOK COUNTY, ILLINOIS.

PARCEL 6:
THE EAST 55.4 FEET OF THE WEST 218.4 FEET OF THE NORTH 211 FEET OF THAT PART
OF BLOCK 24 LYING SOUTH OF ELM STREET IN THE VILLAGE OF WINNETKA IN SECTION
20 AND SECTION 21, TOWNSHIP 42 NORTH, RANGE 13, EAST OF THE THIRD PRINCIPAL
MERIDIAN, IN COOK COUNTY, ILLINOIS.

PARCEL 9:
LOT 1 IN PROUTY HOMESTEAD SUBDIVISION OF ALL OF BLOCKS 24 AND 25, LYING
NORTHEASTERLY OF THE RIGHT OF WAY OF THE CHICAGO AND MILWAUKEE ELECTRIC
RAILROAD, EXCEPT THE NORTH 211 FEET OF SAID BLOCK 24 ALSO THE WEST 3 FEET OF
THE NORTH 211 FEET OF SAID BLOCK 24, ALL IN WINNETKA, A SUBDIVISION BY
CHARLES E. PECK OF THE NORTHEAST 1/4 OF SECTION 20, AND THE FRACTIONAL
NORTH 1/2 OF FRACTIONAL SECTION 21, ALL IN TOWNSHIP 42 N, RANGE 13 EAST OF
THE THIRD PRINCIPAL MERIDIAN, EXCEPT THAT PART OF SAID LOT 1 DESCRIBED AS
FOLLOWS:

BEGINNING AT A POINT IN THE NORTH LINE OF SAID LOT 1, 153.5 FEET OF THE
NORTHWEST CORNER OF SAID LOT 1, THENCE EAST ALONG THE NORTH LINE OF SAID
LOT 1, 44.35 FEET, THENCE SOUTH PARALLEL WITH THE EAST LINE OF SAID LOT 1, 72
FEET, THENCE WEST PARALLEL WITH THE NORTH LINE OF SAID LOT 1, 44.35 FEET
THENCE NORTH 72 FEET MORE OR LESS TO THE PONT OF BEGINNING; ALSO EXCEPT
THAT PART OF SAID LOT 1 LYING SOUTHWESTERLY OF A LINE DESCRIBED AS FOLLOWS:
BEGINNING AT A POINT IN THE NORTH LINE OF SAID LOT 1, BEING THE SOUTH LINE OF
ELM STREET, 110.79 FEET EAST OF THE NORTHWEST CORNER OF SAID LOT 1 AND
RUNNING THENCE SOUTHEASTERLY PARALLEL WITH SAID 93 FEET NORTHEASTERLY
OF AS MEASURED AT RIGHT ANGLES TO THE SOUTHWESTERLY LINE OF SAID LOT 1


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62.41 FEET TO A POINT OF CURVE, THENCE SOUTHEASTERLY ALONG A CURVED LINE
CONVEX NORTHEASTERLY AND HAVING A RADIUS OF 1163 FEET, 17.1 FEET AS
MEASURED ALONG THE CHORD OF SAID CURVE TO A POINT IN A LINE DRAWN
PARALLEL WITH THE EAST LINE OF SAID LOT 1 FROM A POINT IN THE NORTH LINE
OF SAID LOT 1, 153.5 FEET EAST OF THE NORTHWEST CORNER OF SAID LOT 1,
THENCE SOUTH ALONG SAID PARALLEL LINE, 5.20 FEET TO A POINT 72 FEET SOUTH
OF THE NORTH LINE OF SOUTH LOT 1, THENCE EAST PARALLEL WITH THE NORTH
LINE OF SAID LOT 1, 3.20 FEET TO A POINT OF INTERSECTION WITH THE
PROLONGATION OF A CURVED LINE OF 1163 FEET RADIUS HEREIN BEFORE
DESCRIBED, THENCE SOUTHEASTERLY ALONG SAID CURVED LINE 105.94 FEET AS
MEASURED ALONG THE CHORD TO A POINT IN THE EAST LINE OF SAID LOT 1, 46.35
FEET NORTH OF THE SOUTH LINE OF THE NORTH 211 FEET OF BLOCK 24;
AND ALSO EXCEPT THAT PART OF LOT 1 DESCRIBED AS FOLLOWS:

BEGINNING IN THE NORTH LINE OF SAID LOT 1, 197.85 FEET EAST OF THE NORTHWEST
CORNER THEREOF; THENCE EAST ALONG SAID NORTH LINE 10 FEET TO THE
NORTHWEST CORNER OF SAID LOT 1; THENCE SOUTH ALONG THE EAST LINE OF SAID
LOT 1 TO A POINT 46.35 FEET NORTH OF THE SOUTH LINE OF THE NORTH 211 FEET OF
BLOCK 24 AFORESAID; THENCE NORTHWESTERLY ALONG A CURVED LINE CONVEX TO
THE NORTHEAST WITH A RADIUS OF 11.63 FEET, 105.94 FEET TO THE INTERSECTION
OF SAID CURVED LINE WITH A LINE DRAWN 72 FEET SOUTH OF AND PARALLEL WITH
THE NORTH LINE OF SAID LOT 1 AT A POINT 51.15 FEET WEST OF THE EAST LINE OF
SAID LOT 1; THENCE EAST ALONG SAID PARALLEL LINE 41.15 FEET; THENCE NORTH
PARALLEL WITH SAID EAST LINE TO THE POINT OF BEGINNING, IN COOK COUNTY,
ILLINOIS.

Pins: 05-21-109-003-0000; 05-21-109-017-0000; 05-20-213-006-0000; 05-20-213-005-
0000; 05-21-109-012-0000

Common addresses: 714 Elm Street, Winnetka, Illinois 60093; 718 Elm Street, Winnetka,
Illinois 60093; 740 Elm Street, Winnetka, Illinois 60093; 515 Lincoln Avenue, Winnetka,
Illinois 60093.




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